       Case 1-17-45189-ess            Doc 54       Filed 02/15/18    Entered 02/15/18 11:45:34




UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
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In re                                                               Chapter 11

LW RETAIL ASSOCIATES LLC,                                           Case No. 17-45189-ess

                                    Debtor.
------------------------------------------------------------x

                                  MEDIATION REFERRAL ORDER

        WHEREAS, on October 5, 2017, LW Retail Associates LLC filed a petition for relief

under Chapter 11 of the Bankruptcy Code; and

        WHEREAS, on August 7, 2012, the Board of Managers of Loft Space Condominium (the

“Board”) commenced an action in New York State Supreme Court, County of New York

alleging, among other things, construction defects with respect to properties located at 78-80

Leonard Street and 79-81 Worth Street, New York, New York 10013 against several defendants,

including the Debtor and Galli Engineering P.C. (“Galli”) (the “Construction Defect Action”);

and

        WHEREAS, on October 20, 2017, the Construction Defect Action was transferred to the

United States Bankruptcy Court for the Southern District of New York; and

        WHEREAS, on October 31, 2017, the Board moved to dismiss this case pursuant to

Bankruptcy Code Section 1112, or, in the alternative, for the Court to abstain from this case

pursuant to Bankruptcy Code Section 305, or, in the alternative, to remand certain proceedings to

New York State Court, among other things (the “Motion to Dismiss”); and

        WHEREAS, on November 14, 2017, the Debtor and National Bank of New York City

each filed opposition to the Motion to Dismiss; and
      Case 1-17-45189-ess        Doc 54        Filed 02/15/18   Entered 02/15/18 11:45:34




        WHEREAS, on December 21, 2017, the Construction Defect Action was transferred to

this Court; and

        WHEREAS, on February 6, 2018, counsel to the Debtor and the Board filed a letter with

the Court, requesting that the Court refer all matters to mediation, including the Motion to

Dismiss and the Construction Defect Action; and

        WHEREAS, from time to time and on February 8, 2018, the Court held a hearing on the

Motion to Dismiss and a pre-trial conference with respect to the Construction Defect Action, at

which counsel to the Debtor, the Board, and Galli appeared and were heard.

        NOW THEREFORE, it is hereby

        ORDERED, that the Debtor, the Board, and Galli are referred to mediation pursuant to

Rule 9019-1 of the Local Rules of the United States Bankruptcy Court for the Eastern District of

New York; and it is further

        ORDERED, that the Honorable Nancy Hershey Lord will serve as the mediator in this

case; and it is further

        ORDERED, that the parties are directed to contact the chambers of Judge Lord, United

States Bankruptcy Court for the Eastern District of New York, Courtroom 3577, 271-C Cadman

Plaza East, Brooklyn, New York 11201, by contacting Angela Howard, the Judge’s Courtroom

Deputy, at (347) 394-1854; and it is further

        ORDERED, that on or before February 23, 2018, the parties shall submit a stipulation

and mediation order (a proposed form of which is annexed hereto) to be so-ordered by this

Court, which authorizes the appointment of Judge Lord and sets forth the terms of the mediation;

and it is further

                                                   2
      Case 1-17-45189-ess         Doc 54     Filed 02/15/18      Entered 02/15/18 11:45:34




       ORDERED, that an individual with final authority to settle this controversy and to bind

the parties shall attend the mediation on behalf of each party; and it is further

       ORDERED, that the Court will hold a telephonic conference on all matters in this case on

February 15, 2018, at 3:00 p.m. at the United States Bankruptcy Court for the Eastern District of

New York, 271-C Cadman Plaza East, Brooklyn, New York 11201, Courtroom 3585.




                                                                   ____________________________
 Dated: Brooklyn, New York                        3                       Elizabeth S. Stong
        February 15, 2018                                          United States Bankruptcy Judge
       Case 1-17-45189-ess            Doc 54       Filed 02/15/18    Entered 02/15/18 11:45:34




UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
------------------------------------------------------------x
In re                                                               Chapter 7

LW RETAIL ASSOCIATES LLC,                                           Case No. 17-45189-ess

                                    Debtor.
------------------------------------------------------------x


                             STIPULATION AND MEDIATION ORDER

        IT IS HEREBY STIPULATED AND AGREED by and between the undersigned parties:

        1.       The parties shall participate in mediation, whereby a neutral and impartial person
                 will assist them in attempting to reach a mutually acceptable negotiated resolution
                 of the dispute between them (the “Mediation”).

        2.       The parties jointly accept the Honorable Nancy Hershey Lord to provide
                 mediation services to them (the “Mediator”).

        3.       The Mediation shall be non-binding.

        4.       The Mediator shall not have authority to render a decision that shall bind the
                 parties.

        5.       The parties are not obligated to agree to any proposals which are made during the
                 Mediation.

        6.       No party shall be bound by anything said or done during the Mediation, unless
                 either a written and signed stipulation is entered into or the parties enter into a
                 written and signed agreement.

        7.       The Mediator may meet in private conference with less than all of the parties.

        8.       Information obtained by the Mediator, either in written or oral form, shall be
                 confidential and shall not be revealed by the Mediator unless and until the party
                 who provided that information agrees to its disclosure.

        9.       The Mediator shall not, without the prior written consent of both parties, disclose
                 to the Court any matters which are disclosed to him or her by either of the parties
                 or any matters which otherwise relate to the Mediation.

                                                         4
    Case 1-17-45189-ess       Doc 54     Filed 02/15/18      Entered 02/15/18 11:45:34




      10.   The Mediation shall be considered a settlement negotiation for the purpose of all
            federal and state rules protecting disclosures made during such conferences from
            later discovery or use in evidence. The entire procedure shall be confidential, and
            no stenographic or other record shall be made except to memorialize a settlement
            record. All communications and conduct, oral or written, during the Mediation by
            any party or a party’s agent, employee, or attorney are confidential and, where
            appropriate, are to be considered work product and privileged. Such conduct,
            statements, promises, offers, views and opinions shall not be subject to discovery
            or admissible for any purpose, including impeachment, in any litigation or other
            proceeding involving the parties; provided, however, that evidence otherwise
            subject to discovery or admissible is not excluded from discovery or admission in
            evidence simply as a result of it having been used in connection with this
            Mediation process.

      11.   The Mediator and his or her agents shall have the same immunity as judges and
            court employees have under Federal law and the common law from liability for
            any act or omission in connection with the Mediation, and from compulsory
            process to testify or produce documents in connection with the Mediation.

      12.   The parties (i) shall not call or subpoena the Mediator as a witness or expert in
            any proceeding relating to the Mediation, the subject matter of the Mediation, or
            any thoughts or impressions which the Mediator may have about the parties in the
            Mediation; (ii) shall not subpoena any notes, documents or other material
            prepared by the Mediator in the course of or in connection with the Mediation;
            and (iii) shall not offer in evidence any statements, views, or opinions of the
            Mediator.

      13.   The Mediator shall serve without compensation.

      14.   An individual with final authority to settle the matter and to bind the party shall
            attend the Mediation on behalf of each party.

Dated: _________________________


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                                              5
     Case 1-17-45189-ess     Doc 54   Filed 02/15/18   Entered 02/15/18 11:45:34




Consented to: _________________________________
                    Mediator



IT IS SO ORDERED.


___________________________
Elizabeth S. Stong
United States Bankruptcy Judge

Dated: Brooklyn, New York
       _____________________




                                          6
      Case 1-17-45189-ess     Doc 54       Filed 02/15/18   Entered 02/15/18 11:45:34




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                                               7
